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                         Exhibit 1 (Part 2 of 2)

          Declaration of Theodore Whitford – Exhibits D-G
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